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                                                                        Reporting Agencies Act, Cal. Civ.Code section 1785.1 et
                                                                        seq. (“CCRAA”). The disclosure received by Larson was
   KeyCite Yellow Flag - Negative Treatment                             ambiguous but Larson did not allege that Trans Union
Declined to Extend by Young v. TransUnion Corp., N.D.Ga., January 14,   failed to provide any information. The federal law requires
2016                                                                    that information be “clearly and accurately” disclosed to
                 2014 WL 1477705                                        the consumer, and I will DENY the motion to dismiss on
   Only the Westlaw citation is currently available.                    the federal causes of action because of the ambiguity in the
            United States District Court,                               disclosure. However, while the state law has the same
                  N.D. California.                                      general overall purpose to require disclosure of
                                                                        information, it does not contain the “clearly and
             Brian Douglas Larson, Plaintiff,
                                                                        accurately” requirement and Larson did not plead that
                           v.
             Trans Union, LLC, Defendant.                               information was not disclosed. For that reason, I will
                                                                        GRANT the motion to dismiss on the state law causes of
                Case No. 12–cv–05726–WHO                                action.
                              |
                    Signed April 14, 2014


Attorneys and Law Firms

Andrew J. Ogilvie, Carol McLean Brewer, Anderson,                                     FACTUAL BACKGROUND
Ogilvie & Brewer LLP, San Francisco, CA, Gregory
Joseph Gorski, John Soumilas, Francis and Mailman, P.C.,                On October 26, 2011, Brian Larson obtained a copy of his
Philadelphia, PA, for Plaintiff.                                        file from Trans Union, LLC, a consumer credit reporting
                                                                        agency that compiles and sells consumer credit reports.
Brian C. Frontino, Jeffrey Babcox Bell, Julia B. Strickland,            Amended Complaint (“FAC”) ¶¶ 6–7, 22. After disclosing
Stephen Julian Newman, Benjamin Gary Diehl, Jason S.                    information under the headings “Personal Information,”
Yoo, Stroock & Stroock & Lavan LLP, Los Angeles, CA,                    “Adverse Accounts,” “Satisfactory Accounts,” “Regular
for Defendant.                                                          Inquiries,” and “Account Review Inquiries,” the file stated,
                                                                        “End of Credit Report.” Id. ¶ 24. Beneath that heading, the
                                                                        file stated:




  ORDER ON MOTION TO DISMISS AMENDED                                                -Begin Additional Information-
             COMPLAINT
                                                                          Additional Information

                                                                             The following disclosure of information is provided
                                                                             as a courtesy to you. This information is not part of
                         Re: Dkt. No. 45                                     your TransUnion [sic] credit report, but may be
                                                                             provided when TransUnion receives an inquiry about
                                                                             you from an authorized party. This additional
WILLIAM H. ORRICK, United States District Judge                              information can include Special Messages, Possible
                                                                             OFAC Name Matches, Income Verification and
*1 Defendants Trans Union, LLC (“Trans Union”) moves                         Inquiry Analysis information. Any of the previously
to dismiss plaintiff Brian Larson’s amended complaint                        listed information that pertains to you will be listed
alleging that Larson received an incomplete and inaccurate                   below.
credit disclosure from Trans Union in violation of the
Federal Credit Reporting Act,      15 U.S.C. section 1681                 Id. ¶ 25. The file then states:
et seq. (“FCRA”) and California Consumer Credit
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     Possible OFAC Match                                       Trans Union failed to comply with CCRAA sections
                                                               1785.10 and 1785.15 requirements that it disclose “all
     ...                                                       information” in a consumer’s file and that there was no
     As a courtesy to you, we also want to make sure you       additional information about Larson to release. Id. at 4–5.
     are aware that the name that appears on your              His Second Cause of Action failed because CCRAA
     TransUnion credit file is considered a potential          section 1785.14 only applies to a “consumer credit report”
     match to information listed on the United States          prepared for third parties, not a disclosure to the consumer.
     Department of Treasury’s Office of Foreign Asset          Id. at 6–8.
     Control (“OFAC”) Database.1
                                                               Recognizing that “[s]ince at least some of Count I’s
     The OFAC record that is considered a potential            deficiency is due to the ambiguity of Trans Union’s OFAC
     match to the name on your credit file is:                 language in the disclosure to plaintiff,” I granted Larson
                                                               limited discovery on: (i) any consumer credit reports
   Id. ¶ 28.                                                   prepared by Trans Union about Larson; (ii) the meaning of
Following the words “the name on your credit file is:”         the OFAC language; (iii) the meaning of a blank space
Trans Union “places no data at al l, intentionally leaving     when used in a file disclosure or credit report in connection
the space blank, and leaving consumers such as [Larson] to     with an OFAC provision; and (iv) whether Trans Union
wonder what information from the OFAC list [Trans              determined that there was a potential match to Larson in
Union] thinks is attributable to them.” Id. ¶ 29.2             the OFAC data base prior to providing the file disclosure
                                                               or report alleged in the complaint. Id. at 5–6, 8–9.
*2 Trans Union sold Larson’s credit report to “Wells Fargo
Fin Card” on December 7, 2009, Wells Fargo Financial,          On January 15, 2014, Larson filed an amended complaint
N.A. on May 5, 2010, and Citibank, N.A. on August 8,           asserting four causes of action alleging that (1) the format
2011. Id. ¶ 30. Trans Union “does not know what content        of Trans Union’s disclosure to Larson is misleading and
these reports contained and does not keep records of the       inaccurate under FCRA section 1681g(a), (2) the format of
data actually sold to these third parties” so Larson is        Trans Union’s disclosure to Larson is misleading and
“uncertain whether [Trans Union] sold any OFAC alert           inaccurate under CCRAA sections 1785.10 and 1785.15,
information about [him] to any third party.” Id. ¶ 38.         (3) the substance of Trans Union’s disclosure to Larson is
                                                               misleading and inaccurate under FCRA section 1681g(a),
Larson asserts he is not a match to any individual or entity   and (4) the substance of Trans Union’s disclosure to Larson
on the OFAC list, but he “suffered humiliation and             is misleading and inaccurate under CCRAA sections
embarrassment” that Trans Union “considers him a match         1785.10 and 1785.15. Dkt. No. 39 at 11–13.3 Trans Union
or a possible match to some suspected criminal on the          moved to dismiss.
OFAC list and was distressed over the fact that [Trans
Union] does not even provide sufficient information about
what suspected criminal’s information is purportedly a
match or a possible match....” Id. ¶ 38.


                                                                                 LEGAL STANDARD

                                                               Under       Federal Rule of Civil Procedure 12(b)(6), a
                                                               district court must dismiss a complaint if it fails to state a
           PROCEDURAL BACKGROUND
                                                               claim upon which relief can be granted. To survive a
This case was removed from the Superior Court of               Rule 12(b)(6) motion to dismiss, the plaintiff must allege
California, San Francisco County, on November 7, 2012.         “enough facts to state a claim to relief that is plausible on
Dkt. No. 1. The putative class action complaint alleged that   its face.”    Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556
(i) Trans Union failed to provide Larson with all of the       (2007). A claim is facially plausible when the plaintiff
information in his consumer credit file in violation of        pleads facts that “allow the court to draw the reasonable
CCRAA sections 1785.10 and 1785.15 and (ii) Trans              inference that the defendant is liable for the misconduct
Union provided an inaccurate consumer credit report in
                                                               alleged.”     Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
violation of CCRAA section 1785.14. Id. I granted Trans
                                                               (citation omitted). There must be “more than a sheer
Union’s motion to dismiss. Dkt. No. 33. Larson’s First
                                                               possibility that a defendant has acted unlawfully.” Id.
Cause of Action was defective because it pleaded both that
                                                               While courts do not require “heightened fact pleading of
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specifics,” a plaintiff must allege facts sufficient to “raise    information.”);      Dalton v. Capital Associated Indus.,
a right to relief above the speculative level.”    Twombly,       Inc., 257 F.3d 409, 415 (4th Cir. 2001) (credit report is not
550 U.S. at 555, 570.                                             accurate under FCRA        sections 1681e and 1681k if it
                                                                  provides information in a manner that creates a materially
*3 In deciding whether the plaintiff has stated a claim upon
which relief can be granted, the Court accepts the                misleading impression);      Koropoulos v. Credit Bureau,
plaintiff’s allegations as true and draws all reasonable          Inc., 734 F.2d 37, 40–42 (D.C. Cir. 1984) (incomplete
                                                                  reporting can violate FCRA section 1681e’s accuracy
inferences in favor of the plaintiff. See    Usher v. City of
Los Angeles, 828 F.2d 556, 561 (9th Cir. 1987). However,          requirement when it is “misleading”);        Schweitzer v.
the court is not required to accept as true “allegations that     Equifax Info. Solutions LLC, 441 Fed.Appx. 896, 902 (3d
are merely conclusory, unwarranted deductions of fact, or         Cir. 2011) (“A consumer report that contains technically
                                                                  accurate information may be deemed ‘inaccurate’ if the
unreasonable inferences.”       In re Gilead Scis. Sec. Litig.,   statement is presented in such a way that it creates a
536 F.3d 1049, 1055 (9th Cir. 2008). If the court dismisses
the complaint, it “should grant leave to amend even if no         misleading impression.”) (examining claim under
request to amend the pleading was made, unless it                 section 1681e) (quoting     Saunders v. Branch Banking &
determines that the pleading could not possibly be cured by       Trust Co., 526 F.3d 142, 148 (4th Cir. 2008) (interpreting
the allegation of other facts.”     Lopez v. Smith, 203 F.3d          section 1681s)).
1122, 1127 (9th Cir. 2000).
                                                                  Applying this legal standard, and drawing all inferences in
                                                                  Larson’s favor as I must at this procedural stage, I conclude
                                                                  that Larson has sufficiently pled that Trans Union’s
                                                                  disclosure is misleading and inaccurate. The disclosure
                                                                  states that Larson’s name “is considered a potential match
                                                                  to information listed on the United States Department of
                       DISCUSSION                                 Treasury’s [OFAC] Database.” FAC ¶ 28. The disclosure
                                                                  then failed to provide any potential match. FAC ¶ 29. The
                                                                  FAC pleads that Larson suffered distress, humiliation, and
                                                                  embarrassment because he believed that Trans Union
   I. LARSON HAS SUFFICIENTLY ALLEGED                             considered him a match or a possible match, he was misled
   THAT TRANS UNION’S DISCLOSURE                                  concerning the information that Trans Union was reporting
   VIOLATES THE FCRA                                              about him to third parties, and he believed Trans Union did
Larson alleges that the format and substance of Trans             not completely or properly disclose the contents of his file.
Union’s disclosure is “misleading and inaccurate” in              FAC ¶¶ 36–38. He also alleges that the disclosure’s
violation of FCRA section 1681g(a), which states in               statement that the OFAC information is “Additional
pertinent part, “[e]very consumer reporting agency shall,         Information” that “is not part of your Trans Union credit
upon request ... clearly and accurately disclose to the           report” left him “confused” as to whether he had a right to
consumer: (1) All information in the consumer’s file at the       dispute the information. FAC ¶ 50.
time of the request....” FAC ¶¶ 49–50, 58–59;              15     *4 These allegations are sufficient at the motion to dismiss
U.S.C. § 1681g(a) (emphasis added). Courts have                   stage. Even though both parties acknowledge that Larson
construed the words “clearly and accurately” and similar          is not on the OFAC list, and Larson’s discovery did not
words in other sections of the FCRA to mean that a credit         reveal that Trans Union reported him as a match on the
reporting agency has a duty to “do more than simply make          OFAC list,4 Trans Union may not rely solely upon the
an accurate disclosure of information in the consumer’s           accuracy of its disclosure to wholly defeat Larson’s claims.
credit file.”   Gillespie v. Equifax Info. Servs. L.L.C., 484     See, e.g.     Miller, 2013 WL 5442059 at *5 (denying
F.3d 938, 941 (7th Cir. 2007) (interpreting           section     motion to dismiss nearly exact same facts and allegations
1681g(a)). See also       Miller v. Trans Union, LLC, No.         and finding that “a consumer could be confused and
12–cv–1715, 2013 WL 5442059, at *5 (M.D. Pa. Sept. 27,            interpret the document to mean that the consumer is an
                                                                  OFAC match and that the match information was
2013) (“Under       section 1681g, Defendant has a duty to
                                                                  intentionally omitted or not fully disclosed.”).
clearly and accurately set forth any OFAC information ... a
                                                                  Accordingly, Trans Union’s motion to dismiss Larson’s
disclosure may be accurate but may not be clear so that a
consumer a consumer can determine the accuracy of the             claims under      section 1681(g) is DENIED.


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                                                                 impose an accuracy requirement. The words “clearly and
                                                                 accurately” do not appear in those sections of the CCRAA.
                                                                 Therefore the holding in Miller, which depends on the
                                                                 words “clearly and accurately” in FCRA                section
   II. LARSON HAS NOT SUFFICIENTLY
                                                                 1681g(a), is not on point. Larson has not cited any authority
   ALLEGED THAT TRANS UNION’S
                                                                 that reads an accuracy requirement into CCRAA sections
   DISCLOSURE VIOLATES THE CCRAA
                                                                 1785.10 and 1785.15, and I am aware of none. While in
Larson alleges that Trans Union violated CCRAA sections
                                                                 many instances “[b]ecause the CCRAA is substantially
1785.10 and 1785.15, which require a credit reporting
                                                                 based on the Federal Fair Credit Reporting Act, judicial
agency to “allow the consumer to visually inspect all files
                                                                 interpretation of the federal provisions is persuasive
maintained regarding that consumer at the time of the
                                                                 authority and entitled to substantial weight when
request.” CAL. CIV. CODE. § 1785.10(a); CAL. CIV.
CODE. § 1785.15(a) ( “A consumer credit reporting                interpreting the California provisions,”         Carvalho v.
agency shall supply files and information required under         Equifax Info. Servs., LLC, 629 F.3d 876, 889 (9th Cir.
Section 1785.10 during business hours and upon                   2010) (citation omitted), I decline to read words into the
reasonable notice.”). The term “file” is defined as “all of      CCRAA that are not there.
the information on that consumer recorded and retained by
a consumer credit reporting agency, regardless of how the        *5 This conclusion is supported by the fact that other
information is stored.” CAL. CIV. CODE. § 1785.3(g).             sections of the CCRAA contain accuracy requirements. See
                                                                 e.g., CAL. CIV. CODE. 1785.14(b) (requiring credit
Larson alleges that the substance of Trans Union’s               reporting agencies to prepare information provided to third
disclosure violated CCRAA sections 1785.10 and 1785.15           parties with “maximum possible accuracy”). When
because Trans Union did not provide “all” of the                 particular language is included in one section of a statute
information in his file when it left a blank after the words     but omitted in another section of the same statute, it is
“The OFAC record that is considered a potential match to         generally presumed that the legislature acts intentionally
the name on your credit file is:”. But Larson does not           and purposely in the disparate inclusion or exclusion.
identify any information that Trans Union failed to disclose     Barnhart v. Sigmon Coal Co., Inc., 534 U.S. 438, 452
to him. The amended complaint appears to assume that             (2002).
some data was withheld from Larson, without any factual
allegations in support of that assumption. Even after being      Larson’s reliance on the Third Circuit’s decision in
allowed limited discovery for purposes of amending his           Cortez v. Trans Union, LLC, 617 F.3d 688 (2010), is also
complaint, Larson pleads no facts in support of his              misplaced because the facts are very different. Cortez
contention that Trans Union possesses additional OFAC            involved an outrageous situation caused by Trans Union’s
information about him that was not disclosed. Larson also        refusal to correct a credit report. There, the plaintiff
concedes in his opposition brief that the discovery “did not     received a disclosure that did not report any OFAC
reveal that Trans Union sold reports to third parties about      information. She first discovered that she was identified as
[Larson] with OFAC information in them.” Opp. at 2 n.1.          an OFAC match when she attempted to purchase a car and
Without any factual support this allegation still “stops short
of the line between possibility and plausibility of              her credit application was denied.      Id. at 699–700. The
                                                                 plaintiff then attempted to contact Trans Union multiple
entitlement to relief.” Dkt. No. 33 at 5 (citing     Ashcroft    times to remove the information, but Trans Union failed to
v. Iqbal, 556 U.S. 662, 678 (2009)).
                                                                 do so.      Id. at 700. Trans Union also denied that it had
Larson also argues that the format of Trans Union’s              any duty to provide OFAC information directly to the
disclosure violates CCRAA sections 1785.10 and 1785.15           consumer. Id. The Third Circuit held that an OFAC alert is
because the OFAC information appeared under the title            part of a consumer’s “file” within the meaning of the
“Additional Information” and states that it is provided as a     FCRA, and therefore it must be included in a disclosure to
“courtesy.” FAC ¶ 55. Larson relies on the holding in            the consumer.       Id. at 712.
Miller v. Trans Union, LLC, No. 12–cv–1715, 2013 WL
5442059 (M.D. Pa. Sept. 27, 2013), where the court found         Unlike Cortez, where Trans Union failed to give the
that an ambiguous OFAC disclosure violated Trans                 plaintiff any OFAC information in her disclosure, here,
Union’s duty to disclose information “clearly and                Trans Union did provide OFAC information in Larson’s
                                                                 disclosure. Larson defines the issue as whether the
accurately” as required by FCRA         section 1681g(a).        “format” of Trans Union’s disclosure violates the CCRAA.
Opp. at 8–10. The fatal flaw in Larson’s argument is that        FAC at 11. But Cortez had nothing to do with the proper
CCRAA sections 1785.10 and 1785.15 do not on their face
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“format” of OFAC data. And there is no evidence that
Trans Union gave any OFAC information to a third party
that it did not provide to Larson.

Larson provides no other law and alleges no facts, other                                                    CONCLUSION
than the language of the OFAC alert itself, to support his
                                                                                   For the reasons above, the motion to dismiss is GRANTED
reading that the “format” of the OFAC information violates
                                                                                   without leave to amend on Larson’s Second and Fourth
the CCRAA. Dkt. No. 19–20. The Court agrees that the
                                                                                   Causes of Action alleging violations of the CCRAA, and
language is ambiguous. But Larson offers no support for
                                                                                   DENIED on Larson’s First and Third Causes of Action
his argument that potentially ambiguous “format” in a
                                                                                   alleging violations of the FCRA. Trans Union has 20 days
consumer disclosure give rise to a claim under sections
                                                                                   to answer the pending Amended Complaint.
1785.10 and 1785.15. Larson’s allegations are not well-
pleaded.
                                                                                   IT IS SO ORDERED.
I gave Larson the opportunity to complete discovery on his
file before amending the complaint. Because he was unable                          All Citations
to allege new facts that would support a cause of action
under the CCRAA, I will GRANT Trans Union’s motion                                 Not Reported in F.Supp.3d, 2014 WL 1477705
to dismiss the CCRA claims without leave to amend.                                  


Footnotes 
 
1          The FAC does not state whether the emphasis was in the original disclosure or added by counsel. 
     
            
 
2          OFAC alerts advise credit grantors whether an applicant’s name matches an individual or entity identified by the United States
     
           Department of Treasury’s Office of Foreign Asset Control (“OFAC”) as hostile to the United States. Compl. ¶ 1. Certain institutions 
 
           are required to consult the OFAC list before transacting with individuals.           31 U.S.C. § 5318(l ) (2). Failure to comply may carry 
           criminal penalties, civil penalties, and fines ranging from $10,000 to $10,000,000. See         Cortez v. Trans Union, LLC, 617 F.3d 688, 
           ns. 14–19 (3rd Cir. 2010). Credit agencies have adopted measures to allow credit grantors to determine if a credit applicant is on
           the  OFAC  list  by  matching  the  applicant’s  name  and  other  information  to  the  individuals  and  entities  on  the  list.  See  OFAC 
           Frequently Asked Questions and Answers, http://www.treasury.gov/resource‐center/faqs/Sanctions/Pages/answer.aspx (visited
           on April 7, 2014). 
            
3          The amended complaint no longer asserts that Trans Union provided an inaccurate consumer credit report in violation of CCRAA
     
           section 1785.14. 
            
4          Larson’s opposition states that “[t]he limited discovery that this Court permitted did not reveal that Trans Union sold reports to
     
           third parties about Plaintiff with OFAC information on them.” Opp. at 2 n.1. 
            



 
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